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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON                   MDL NO. 16-2738 (FLW) (LHG)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES
    PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION

    THIS DOCUMENT RELATES TO:

    THE FERRARO LAW FIRM,
    P.A.’S MOTIONS FOR RELIEF
    FROM COMMON BENEFIT FEE
    ASSESSMENTS (ECF DOC. NOS.
    26550 AND 26551)


        PLAINTIFFS’ STEERING COMMITTEE’S RESPONSE IN OPPOSITION
                TO THE MOTIONS FOR RELIEF FROM CMO 7(A)
                      BY THE FERRARO LAW FIRM, P.A.

    I.     INTRODUCTION

           The Plaintiffs’ Steering Committee (hereinafter “PSC”) submits this

    response in opposition to the Motions (ECF Doc. Nos. 26550 and 26551(the

    “Motions”)) 1 filed by The Ferraro Law Firm, P.A. (hereinafter “Ferraro”) that seek
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    an exemption from this Court’s Case Management Order 7(A) (“CMO 7(A)”),

    which provides for an escrowed hold back of a percentage of settlement money to




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     The Ferraro Law Firm, P.A. filed the same memorandum of law in support of two separate
    motions. The PSC submits this single memorandum of law in opposition to both motions.
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    be used for a possible future common benefit fee and cost award by this Court. 2              1F




    The Motions are without foundation. Indeed, Ferraro admits it is a signatory to the

    Participation Agreement that was made a part of CMO 7(A), thereby making the

    law firm subject to the Order. See Ferraro Memo. at 3. Further, Ferraro admits that

    of the cases for which it seeks to avoid the common benefit holdback, all but two

    are MDL cases. See Declaration of David A. Jagolinzer (“Jagolinzer Decl.”) at 2-

    3. 3 It is represented that one other case at issue has been or was pending in state
        2F




    court in Florida and another is an unfiled case. Id. Clearly, each of the 22 cases

    pending in the MDL are subject to this Court’s jurisdiction and CMO 7(A).

    Further, the two non-MDL cases became subject to CMO 7(A) upon the Ferraro

    firm’s execution of the Participation Agreement that provides that all of a

    participating firm’s cases are subject to the holdback. Accordingly, the Motions

    for exemption from CMO (7A) should be denied.

    II.      FACTUAL BACKGROUND

             On May 29, 2020, the PSC filed a Motion and Notice of Motion for Entry of

    Case Management Order 7(A) Establishing the Talc (MDL 2738) Common Benefit

    Fee and Expense Accounts to Compensate and Reimburse Attorneys for Services




    2
      The Ferraro Law Firm, P.A.’s Memorandum of Law in Support of Motion for Relief from
    Common Benefit Fee Assessments is referred to herein as “Ferraro Memo. at __.”
    3
      The Ferraro Law Firm, P.A. filed the same Declaration of David A. Jagolinzer in support of its
    motions. See Doc. Nos. 26550-2 and 26551-2.


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    Performed and Expenses Incurred for Case Administration and the Common

    Benefit (Doc. No. 13487) along with a proposed Participation Agreement (Doc.

    No. 13487-3) (collectively, the “Assessment Motion”). All counsel of record,

    including Ferraro, were served with a copy of the Assessment Motion via the

    Court’s ECF system. A single brief was filed in opposition to the Assessment

    Motion, see Doc. No. 13689, in response to which the PSC filed a Reply. See Doc.

    No. 13756. 4 Ferraro, which had cases pending in the MDL when the Assessment
                 3F




    Motion was filed, did not oppose the entry of CMO 7(A).

           On September 17, 2020, the Court approved and entered CMO 7(A). See

    Doc No. 14741. CMO 7(A) provides that a law firm or counsel with cases in the

    MDL at that time of the entry of the Order and who executed the Participation

    Agreement within 45 days of the entry of the Order would be deemed an “Early

    Participant”, meaning that the holdback for such a law firm or counsel would be

    8%, consisting of 6% for fees and 2% for costs. See CMO 7(A) at 13.

           CMO 7(A) further provided that for counsel who filed their first cases after

    entry of CMO 7(A), they would have 45 days from the filing of their first case in


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      In its Reply, the PSC made clear that any holdback of money against a resolved case is to be
    held in escrow pending a further order of the Court upon the filing of a fee petition by the
    common benefit counsel who have performed common benefit work in this MDL. See Reply at
    3. The PSC argued that a holdback assures money is held under the supervision of the Court on
    the front end, in escrow, instead of money being disbursed and later there is a determination that
    the money should be awarded for common benefit purposes, but is not easily capable of being
    recovered after disbursement.


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    the MDL to execute the Participation Agreement to be considered an “Early

    Participant.” Id. Counsel who did not act in accordance with the requirements of

    CMO 7(A) to be an “Early Participant”, but that later became bound by CMO

    7(A), were deemed “Late Participants” and the Order provides that the cases of

    such counsel would be assessed a 12% holdback, consisting of 10% for fees and

    2% for costs. See CMO 7(A) at 14. 5      4F




             In its Motion, the Ferraro firm states that is has settled 24 cases, 22 of which

    are in the MDL, one of which is in state court in Florida, and one of which is an

    unfiled case. It cannot be denied that of the 24 Ferraro cases, 22 have directly

    benefited from the services of the PSC as well as the accommodations of this

    Court. The other two cases that settled also undoubtedly benefited from the work

    and expenses incurred in the MDL as well as by the settlement of the 22 MDL

    cases.        Regardless, pursuant to the terms of CMO 7(A) and the Participation

    Agreement that the Ferraro firm executed, all of these cases are subject to the MDL

    holdback. However, Ferraro seeks an exemption from the holdback, arguing the

    following:

             1.      The PSC did not “cooperate” with Ferraro with regard to providing
                     MDL work product, particularly relating to access to MDL experts Dr.

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      Ferraro executed the Participation Agreement on September 21, 2020, within 45 days of entry
    of CMO 7(A) and, accordingly, its cases are subject to the “Early Participant” holdback. In the
    Motion, the Ferraro firm seems to think its cases are subject to a 12% holdback. The PSC does
    not understand Ferraro’s position that its cases are subject to a 12% holdback since it is an Early
    Participant.


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                     Ghassan Saed and Dr. Laura Plunkett;

             2.      Settlement of the Ferraro cases was accomplished without
                     administration of Lead Counsel, without the approval of Lead
                     Counsel, and without Lead Counsel having any control of the cases or
                     the settlement; and

             3.      Settlement of the Ferraro cases did not include any discussions with
                     the J&J Defendants about the common benefit fee, or any duties or
                     obligations pertaining to the MDL or pending state court actions.

             Relating to point number 1, Co-Lead Counsel Leigh O’Dell spoke with Mr.

    Jagolinzer (an attorney with Ferraro) on December 18, 2020, about PSC assistance

    for the Ferraro cases. See Declaration of Leigh O’Dell, attached as Exhibit A.

    During this conversation Mr. Jagolinzer requested that Ms. O’Dell facilitate the

    availability and/or provision of testimony of Drs. Saed and Plunkett, MDL experts,

    as well as Dr. John Godleski (not yet an MDL case-specific pathologist), in the

    firm’s pending state court trials. Ms. O’Dell explained that it was the PSC’s intent

    to preserve the testimony of Drs. Saed and Plunkett in trial ready videotape

    depositions so that the testimony would be available to be utilized by those with

    access to MDL work product. Co-Lead Counsel have taken the same position with

    other state court counsel who sought to have MDL experts testify in state court

    cases.        As to Points 2 and 3, nowhere is it stated that settlements must be

    negotiated and/or administered by the PSC in order to be subject to the holdback

    imposed by CMO 7(A). Nor is there a requirement that Defendants consider

    common benefit fee assessments as part of the settlement discussions.


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           For the reasons set forth below, the PSC respectfully requests that this Court

    deny Ferraro’s Motion for an exemption to CMO 7(A). The Court should not

    engage in a case-by-case determination to decide whether to apply an assessment

    in the context of a prolix docket and complex MDL litigation. It would defeat the

    efficiencies underlying the purposes of MDL litigation to require a Court to

    evaluate individual counsel’s uses of MDL discovery and work product when

    making fee awards. Here, what is at issue is not even a request for a fee and cost

    award, but merely a request that funds be escrowed until a later date.

    III.   HISTORY OF THE MDL

           On October 4, 2016, the Judicial Panel on Multi-District Litigation directed

    the transfer of federal Talcum Powder cases to the United States District Court for

    the District of New Jersey for coordinated and/or consolidated pretrial proceedings

    under MDL Docket No. 2738. As of October 16, 2021, approximately 35,000 civil

    actions involving allegations of Talcum Powder use had been transferred to MDL

    No. 2738.

           Managing this docket with the view towards readying the cases for trial and

    prompt remand presented an enormous undertaking. To achieve this goal, the

    Court required the completion of a series of steps towards the scheduling of

    bellwether trials. The Court appointed Plaintiffs’ Co-Lead Counsel, Liaison

    Counsel and both an Executive Committee and Steering Committee to steer this



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    litigation. The Court also appointed a Special Master to handle discovery disputes

    and other issues in the case. The PSC was charged with assisting the Court, the

    Special Master and individual plaintiffs’ counsel in conducting coordinated pretrial

    proceedings and conducting discovery of general applicability on behalf of the

    plaintiffs.

           The PSC held frequent “all-counsel” calls and issued numerous “all counsel”

    emails to keep the hundreds of attorneys representing plaintiffs in this litigation

    apprised of the case events. The PSC also discharged this Court-imposed mandate

    by engaging in activities that included, but have not been limited to, the following:

                  Actively participated in numerous Court conferences, both those held
                   live in Court, those held by teleconference, and upon the occurrence
                   of COVID-19, by video zoom;

                  Managed the production of over 750,000 documents by Defendants,
                   including the review, analysis, culling and abstraction of the
                   documents for use with experts, fact witnesses and at deposition;

                  Took more than 20 fact depositions, including multi-day 30(b)(6)
                   depositions;

                  Retained, worked with and proffered twenty-five extremely qualified
                   expert witnesses, many of whose general causation testimony will be
                   preserved and made available in the trial package for use by all of the
                   parties that have signed the Participation Agreement; 6         5F




                  Briefed, presented testimony, and engaged in post-argument briefing
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      It is noteworthy, that the Ferraro Motion focuses on but two of the 25 expert witnesses that the
    PSC proffered in this litigation. The existence of these many other expert witnesses undoubtedly
    presented a threat to the J&J defendants that supported the ability of the Ferraro firm to settle its
    cases.


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                of extensive Daubert motions relating to the experts;

               Participated in numerous Special Master Conferences, including those
                in person, by telephone and by video conferencing;

               Developed the general causation and general liability case for the
                Talcum Powder litigants by issuing written discovery, resolving
                discovery disputes (especially over documents that J&J improperly
                asserted various privileges); and

               Undertook a comprehensive analysis of the relevant medical and
                scientific literature involving hundreds of articles and integrating them
                into the general causation case against the J&J defendants.

          The PSC has been working on the amalgam of this material into a “trial

    package” that would be made available to all the parties that signed the

    Participation Agreement. The discovery conducted by the PSC provides a rich

    texture of interwoven lines of evidence showing that J&J knew that its Johnson’s

    Baby Powder and Shower to Shower talc-based body powders can cause ovarian

    cancer. The evidence also shows that Defendant deliberately failed to disclose

    these risks because such a disclosure would adversely affect its profits and

    corporate image.

          Recognizing the scope and complexity of the work done by the PSC on

    behalf of all plaintiffs, this Court developed a procedure for the judicial award of

    MDL common benefit fees. In CMO 7, entered on August 9, 2017, the Court

    created a mechanism to provide for attorneys performing common benefit work

    and incurring common benefit expenses to record such work and expenses so that



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    at an appropriate time, they could seek reimbursement of costs and award of

    attorneys’ fees for providing case-wide services to this MDL Court and to the

    litigants.   CMO 7 provided for the reporting of time and expenses to an

    independent auditor appointed by the Court. Later, CMO 7(A) provided for the

    sequestration of a percentage of payments made by defendants in settlements or

    satisfaction of judgments/verdicts into the separate fee and cost escrow accounts.

    See CMO 7(A) at 16-20.

           As noted above, there was only a single objection to the Assessment Motion,

    jointly filed by three law firms. After entry of CMO 7(A), 127 law firms executed

    a Participation Agreement agreeing to be bound by the Order and the holdback

    mandated by the Order. Ferraro is one of those firms.

    IV.    ARGUMENT

           Ferraro’s challenge to this Court’s authority to assess cases subject to this

    coordinated proceeding is unavailing. Ferraro argues this Court cannot impose an

    assessment on its cases because its settlements were reached with J&J due solely to

    its own work, without regard for any work performed by the PSC. Its argument is

    premised only on its alleged inability to utilize two experts as live witnesses in a

    state court trial and for an unfiled case without regard to any other issues or matters

    that would support the assessment. Ferraro attempts to create secondary litigation

    over what work the PSC performed, the value PSC work may have had not only in



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 the eyes of Ferraro, but in the eyes of J&J (i.e., that PSC work product created a

 “threat” to J&J, causing it to settle with Ferraro), and ignores that the PSC had

 made available to Ferraro factual information that inured to Ferraro’s benefit. 7       6F




 Certainly, J&J knew what evidence the PSC compiled, and knew that such

 evidence would have been available to and been used by Ferraro if J&J did not

 settle the Ferraro cases. It is for just such reasons that the United States Supreme

 Court long ago held that “a second, unnecessary litigation,” about entitlement to

 fees should not occur. Hensley v. Eckerhart, 461 U.S. 424, 437 (1983).

       The governing principles of common benefit fee awards derived from long-

 standing jurisprudence, as established in Trustees v. Greenough, 105 U.S. 527

 (1881) and refined in, inter alia, Central Railroad & Banking Co. v. Pettus, 113

 U.S. 116 (1885); Sprague v. Ticonic National Bank, 307 U.S. 161 (1939); Mills v.

 Electric Auto-Lite Co., 396 U.S. 375 (1970); Boeing Co. v. Van Gemert, 444 U.S.

 472 (1980); and approved and implemented in the MDL context, in inter alia, In re

 Air Crash Disaster at Florida Everglades on December 29, 1972, 549 F.2d 1006,

 1019-21 (5th Cir. 1977); Camden I Condo. Ass’n, Inc. v. Dunkle, 946 F.2d 768,

 772-75 (11th Cir. 1991) (citing Johnson v. Georgia Highway Express, Inc., 488

 F.2d 714 (5th Cir. 1974)); In re Diet Drugs, 582 F.3d 524 (3d Cir. 2009); In re



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  Moreover, had Ferraro’s cases proceeded to trial, preservation depositions of MDL experts
 would have also been available for use.


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  Genetically Modified Rice Litig., 835 F.3d 822 (8th Cir. 2016).

          An MDL court, like every trial court, 8 has managerial authority to oversee
                                                     7F




 the litigation and the litigants. 28 U.S.C. § 1407; MANUAL FOR COMPLEX

 LITIGATION, 4th § 10.1 (2004); Fla. Everglades, 549 F.2d at 1012; Diet Drugs, 582

 F.3d at 524; In re Genetically Modified Rice Litig., 764 F.3d 864, 872 (8th Cir.

 2014) (“it was reasonable for the court to exercise its managerial power to ensure

 that Lead Counsel and the other common benefit attorneys were fully compensated

 for work that assisted other parties”). The inherent docket management powers of

 the court include the power to appoint lead counsel to manage complex multi-

 district litigation and the power to assure compensation for such services. See

 Vincent v. Hughes Air West, Inc., 557 F.2d 759, 769 (9th Cir. 1997); In re Air

 Crash Disaster at Florida Everglades, 549 F.2d 1006 (5th Cir. 1977); In re MGM

 Grand Hotel Fire Litig., 660 F. Supp. 522 (D. Nev. 1987); Orthopedic Bone

 Screw, 1996 WL 900349 (E.D. Pa. Jun.17, 1996); In re Nineteen Appeals Arising

 Out of San Juan Dupont Plaza Hotel Fire Litig., 982 F.2d 603, 606-07 (1st Cir.

 1992); Smiley v. Sincoff, 958 F.2d 498, 501 (2nd Cir. 1992); In re Agent Orange

 Prod. Liab. Litig., 611 F. Supp. 1296, 1317 (E.D.N.Y. 1985), rev’d in part on

 other grounds, 818 F.2d 226 (2nd Cir. 1987). That “power is illusory,” however, “if

 it is dependent upon lead counsel’s performing the duties desired of them for no


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     Landis v. North American Co., 299 U.S. 248, 254 (1936).


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 additional compensation.” Fla. Everglades, 549 F.2d at 1016.

       Ferraro’s argument that it can avoid its obligation to compensate the PSC by

 claiming it did not physically receive or use the PSC work product is incorrect. The

 PSC conferred a public benefit for the Court, Ferraro, and the other litigants by

 way of docket administration and managerial tasks. More importantly, litigation of

 the general causation question by the PSC deserves consideration, whether used by

 Ferraro or not, because it was that MDL work and work product that sustained

 talcum powder-ovarian cancer litigation nationwide. That individual counsel might

 choose to ignore singular aspects of the many services performed by the PSC is

 insufficient grounds to avoid the holdback altogether.       Entertaining Ferraro’s

 myopic argument undermines the Court’s power to secure management services in

 complex litigation, is at odds with the principle of equitable fee-shifting announced

 in Boeing v. Van Gemert, 444 U.S. 472, 479 (1980), and would require the district

 court to undertake state-of-mind determinations for hundreds of individual lawyers

 in violation of the Supreme Court’s admonition that fee award proceedings should

 not, in their nature, engender a second major litigation. Hensley v. Eckerhart, 461

 U.S. 424, 427 (1983). See also In re Diet Drugs, PTO No. 1492 (E.D. Pa. Nov. 8,

 2000) (“The court does not have the time or capacity to make individualized

 factual determinations as to whether an individual plaintiff actually used any

 common benefit material or whether the availability of that material actually



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 influenced AHP’s decision to settle a case. To engage in such a process would

 frustrate the goals of consolidated proceedings-the achievement of efficiency and

 economy.”)

       Ferraro’s arguments are similar to those of certain objectors in Diet Drugs,

 who contested paying common benefit fees because they opted out of the class

 before a global settlement was reached and claimed they did not use the common

 benefit work product of the plaintiffs’ steering committee. In rejecting those

 arguments, the Third Circuit recognized that MDL leadership counsel secured

 “favorable discovery and evidentiary rulings that applied on a litigation-wide basis

 … [in] every MDL case against” defendant. Diet Drugs, 582 F.3d at 548. The

 Third Circuit held that defendant knew the plaintiffs had access to MDL common

 discovery, so all plaintiffs benefited in defendant’s “loss of bargaining power due

 to the [leadership’s] efforts.” Id. Thus, the court held, “those plaintiffs stood a

 better chance of recovery from [the defendant] than they would have absent the

 [leadership’s] efforts.” Id.

       The same is true here. Had the PSC not litigated the question of J&J’s

 liability and the causal connection between the use of talcum powder and ovarian

 cancer, it is unlikely that Ferraro would have resolved its cases.

       As to Ferraro’s contention that it should be relieved from its holdback

 obligation because it was not provided with access to experts Dr. Saed and Dr.



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 Plunkett, Ferraro misconstrues the terms of the Participation Agreement. CMO

 7(A) does not obligate the PSC to provide access to all expert evidence or provide

 experts for in-person testimony in state court trials.        To the contrary, the

 Participation Agreement makes clear that the PSC retains discretion as to the

 provision of expert evidence:

              10. Upon execution of this Agreement, the PSC will
              provide Participating Counsel, with access to the
              Common Benefit Work Product defined in the Court’s
              CMO 7 and 7(A), and any amendments to which this
              Exhibit “A” is attached, summarizing of the documents
              in the depository, access to all deposition transcripts and
              summaries, deposition cuts for the purpose of trial,
              medical literature library, legal briefing and research,
              and, as deemed appropriate by the PSC, expert witness
              work product. Participating Counsel agree that all cases
              in which Participating Counsel has a fee interest,
              including unfiled cases, tolled cases, and/or cases filed in
              state and/or federal court, are subject to the terms of this
              Agreement. (emphasis added)

       This point was made clear to Mr. Jagolinzer. The PSC did not deem it

 appropriate to subject certain experts to live trial examination as requested by

 Ferraro but did inform Ferraro that testimony of the MDL general causation

 experts would be preserved and available for state court trials.

       To the extent Ferraro claims it should be relieved from the holdback because

 J&J did not discuss the holdback during negotiations is similarly unavailing. CMO

 7(A) imposes on J&J only an obligation to pay into the fee and cost escrow

 accounts a percentage of the case settlements. J&J had no duty to alert counsel

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 that a portion of any settlement would be held back in common benefit escrow

 accounts. Indeed, with Ferraro having executed the Participation Agreement, it

 knew or should have known of the holdback obligation and could have taken that

 in account in determining the settlement value of its cases. In fact, no one knows

 whether such an adjustment was made, which is all the more the reason why the

 Supreme Court held in Hensley, that there should not be secondary litigation over

 fees. See Hensley, 461 U.S. at 427.

       It also bears noting that the primary issue raised by Ferraro does not relate to

 the net recovery that the settling plaintiffs or clients will receive, but to Ferraro

 bearing a reduction in its contingent fee recovery by application of the holdback

 percentage. As the Court will recall, the holdback fee percentage is deducted from

 the contingent fee percentage of the private counsel and does not increase the

 amount of fee that a plaintiff/client bears. The holdback cost percentage is

 deducted from the plaintiff’s recovery just as individual costs are deducted from a

 plaintiff’s recovery, but spreads the common benefit costs so that the plaintiff does

 not bear an undue burden.

       The manner of calculation requires counsel to bear the burden of the

 reduction for fees to compensate for the common benefit work performed by MDL

 counsel that would otherwise have to had been done by the participating firm.

       To the extent Ferraro attempts to “poison the well” by including in its



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 moving papers a copy of an objection to an assessment award filed by the Beasley

 Allen firm in the Roundup litigation, that argument is also without merit. There are

 key factual distinctions between Roundup and the present matter, including that: in

 Roundup, Beasley Allen did not execute a Participation Agreement; the cases in

 question were not pending in the Roundup MDL; and the cases in question were

 not subject to the Roundup MDL’s jurisdiction. 9 To the contrary, here, Ferraro
                                                          8F




 executed the Participation agreement, 22 of its 24 cases are pending in the MDL

 and subject to the MDL’s jurisdiction and, by reason of the Participation

 agreement, Ferraro made all of its cases subject to the holdback, regardless of

 whether a specific case was pending in the MDL, in state court, or not filed.

        Finally, although not argued by Ferraro, prior to filing its motion, Ferraro

 asked the PSC to waive the holdback against its settlements, arguing that a group

 of cases represented by attorney Mark Lanier are not subject to the holdback and

 that Ferraro should be accorded the same treatment. However, the only Lanier

 cases exempted from CMO 7(A) were those in the Ingham consolidated trial (22

 plaintiffs). 10 This exemption was disclosed to the Court in the PSC’s Assessment
             9F




 9
    See Order Granting in Part and Denying in Part Motion to Establish a Holdback Percentage,
 Dkt. No. 12394, In re: RoundUp Prod. Liab. Litig., MDL No. 2741 (N.D. Ca. June 21, 2021)
 (sustaining objections to the application of the common benefit holdback percentage to cases not
 filed in the MDL and represented by firms who had not signed a participation agreement).
 10
     The Lanier firm represents numerous plaintiffs. Only the Ingham plaintiffs (22) are exempt
 from the holdback. At the time the PSC filed its Assessment Motion, the Ingham case had
 already been tried to judgment and was on appeal. The remainder of the Lanier cases are subject
 to the holdback.


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 Motion and was considered by the Court prior to entry of CMO 7(A). Ferraro did

 not object to the exemption of the group of Lanier cases, nor did Ferraro

 specifically identify cases it wanted exempted prior to executing the Participation

 Agreement. In fact, Ferraro had no basis to ask for an exemption prior to executing

 the Participation Agreement.

 V.    CONCLUSION

       For the reasons outlined above, Ferraro’s motions should be denied.


 Dated:      January 4, 2022           Respectfully submitted,

                                       /s/ P. Leigh O’Dell
                                       P. Leigh O’Dell
                                       BEASLEY, ALLEN, CROW, METHVIN,
                                       PORTIS & MILES, P.C.
                                       218 Commerce Street
                                       Montgomery, AL 36104
                                       Tel: 334-269-2343
                                       Fax: 334-954-7555
                                       Leigh.odell@beasleyallen.com

                                       /s/ Michelle A. Parfitt
                                       Michelle A. Parfitt
                                       ASHCRAFT & GEREL, LLP
                                       1825 K Street, NW, Suite 700
                                       Washington, DC 20006
                                       Tel: 202-783-6400
                                       Fax: 202-416-6392
                                       mparfitt@ashcraftlaw.com

                                       Plaintiffs’ Co-Lead Counsel




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                                    /s/ Christopher M. Placitella
                                    Christopher M. Placitella
                                    COHEN, PLACITELLA & ROTH, P.C.
                                    127 Maple Avenue
                                    Red Bank, NJ 07701
                                    Tel: 732-747-9003
                                    Fax: 732-747-9004
                                    cplacitella@cprlaw.com

                                    Plaintiffs’ Liaison Counsel




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